Case 6:16-cr-00032-RC-KNM Document 31 Filed 10/04/16 Page 1 of 3 PagelD#: 59

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

TYLER DIVISION
UNITED STATES OF AMERICA §
§
v. § NO. 6:16-CR-32
§ (Judges Clark/Mitchell)
GARY WAYNE NIX 8
FACTUAL BASIS

Investigation by the Longview Police Department and the Bureau of Alcohol,
Tobacco, Firearms, and Explosives (ATF) disclosed the following facts that establish that
I, the defendant, Gary Wayne Nix, violated 18 U.S.C. § 922(g)(1). I accept the following
factual basis as true and correct:

Upshuc

i. On or about June 1, 2016, in Grepé County, Texas, in the Eastern District
of Texas, Longview, Texas Police Officers and ATF Agents executed a search warrant at
Gary Wayne Nix’s (Nix) residence at 9397 Hwy. 155, Gilmer TX.

2. The police officers and ATF agents found Nix present at the residence and
arrested him. They also recovered the following from the master bedroom of the
residence: a FEG, Model PMK-380, .380 caliber, semi-automatic, pistol bearing serial
number N16368, approximately fifty-four (54) .380 caliber cartridges of various
manufacturers, a currency counter, a digital scale, and approximately 22 grams of

marijuana. The agents also recovered approximately one gram of methamphetamine

from the guest bedroom of the residence.

Factual Basis
Page 1 of 3

 
Case 6:16-cr-00032-RC-KNM Document 31 Filed 10/04/16 Page 2 of 3 PagelD #: 60

3, Neither the pistol nor any of the ammunition cartridges were manufactured
in the state of Texas and therefore they all traveled in interstate commerce prior to Nix
possessing them.

4, On June 1, 2016, Nix had been previously convicted of the following
felony offenses: Manufacture/Delivery of a Controlled Substance in Penalty Group 3 or
4,a felony, in Cause Number 15,663, in the 115" Judicial District Court in and for
Upshur County, Texas, on January 25, 2011, and Manufacture/Delivery of a Controlled
Substance in Penalty Group One, a felony, in Cause Number 14,031, in the 115" Judicial
District Court in and for Upshur County, Texas, on August 1, 2006.

5. The defendant acknowledges that these facts constitute a violation of
18 U.S.C. § 922(g)(1) (Felon in Possession of a Firearm), He hereby stipulates that the
facts described above are true and correct and accepts them as the uncontroverted facts of
this case.

SIGNATURE AND ACKNOWLEDGMENT BY DEFENDANT

I have read this Factual Basis and the Plea Agreement in this matter and have
discussed them with my attorney. | fully understand the contents of this Factual Basis
and the Plea Agreement and agree without reservation that it accurately describes my
acts.

pawl? “A? - 46 GZ wtf Apa Jb

GARY WA NIX
Defendant

Factual Basis
Page 2 of 3

 
Case 6:16-cr-00032-RC-KNM Document 31 Filed 10/04/16 Page 3 of 3 PagelD#: 61

SIGNATURE AND ACKNOWLEDGMENT BY ATTORNEY FOR DEFENDANT
I have read this Factual Basis and the Plea Agreement in this matter and have

reviewed them with my client, Gary Wayne Nix. Based upon my discussions with my

client, I am satisfied that he understands the terms and effects of the Factual Basis and the

Plea Agreement and that he is signing this Factual Basis voluntarily.

Dated: LO (? Oe pe a)
/ ! CARLO-D’ANGELO————

Attorney for Defendant

 

Factual Basis
Page 3 of 3

 
